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                                Exhibit A
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Wangsgard, Kendall E.

From:                Lunkenheimer, Kurt (USAFLS) <Kurt.Lunkenheimer@usdoj.gov>
Sent:                Wednesday, January 20, 2021 2:38 PM
To:                  Wangsgard, Kendall E.
Cc:                  Kramer, Alexander (CRM); Rivkin, David; New, Jonathan B.; Barr, Jonathan R.
Subject:             RE: United States v. Alex Nain Saab Moran - 19-cr-20450 (SD Fla)


Kendall,

Considering what Alex and I have read in the press, and with all of your side’s government experience, I hope you all
could see that we, the United States, would want to know if we were talking with lawyers representing Venezuela or
lawyers representing Alex Saab.

But we can discuss tomorrow. Talk to you at 9:30am.

Kurt



From: Wangsgard, Kendall E. <kwangsgard@bakerlaw.com>
Sent: Wednesday, January 20, 2021 1:15 PM
To: Lunkenheimer, Kurt (USAFLS) <KLunkenheimer@usa.doj.gov>
Cc: Kramer, Alexander (CRM) <Alexander.Kramer@CRM.USDOJ.GOV>; Rivkin, David <drivkin@bakerlaw.com>; New,
Jonathan B. <jnew@bakerlaw.com>; Barr, Jonathan R. <jbarr@bakerlaw.com>
Subject: RE: United States v. Alex Nain Saab Moran ‐ 19‐cr‐20450 (SD Fla)

Kurt,

We are happy to discuss this further during our meet and confer tomorrow morning, but we do not understand the basis
for your request. We are not aware of any obligation for defense counsel to share their engagement letter with
prosecutors.

Best,

Kendall

From: Lunkenheimer, Kurt (USAFLS) <Kurt.Lunkenheimer@usdoj.gov>
Sent: Wednesday, January 20, 2021 10:57 AM
To: Wangsgard, Kendall E. <kwangsgard@bakerlaw.com>
Cc: Kramer, Alexander (CRM) <Alexander.Kramer@usdoj.gov>; Rivkin, David <drivkin@bakerlaw.com>; New, Jonathan B.
<jnew@bakerlaw.com>; Barr, Jonathan R. <jbarr@bakerlaw.com>
Subject: RE: United States v. Alex Nain Saab Moran ‐ 19‐cr‐20450 (SD Fla)

Kendall,

We understand, but considering the nature of this case, we would request that you redact those parts and provide it to
us.

I have dropped John‐Alex Romano from this email thread as he is no longer on the case.

                                                            1
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Thank you.

Kurt

From: Wangsgard, Kendall E. <kwangsgard@bakerlaw.com>
Sent: Wednesday, January 20, 2021 10:27 AM
To: Lunkenheimer, Kurt (USAFLS) <KLunkenheimer@usa.doj.gov>
Cc: Kramer, Alexander (CRM) <Alexander.Kramer@CRM.USDOJ.GOV>; Romano, John‐Alex (CRM) <John‐
Alex.Romano@CRM.USDOJ.GOV>; Rivkin, David <drivkin@bakerlaw.com>; New, Jonathan B. <jnew@bakerlaw.com>;
Barr, Jonathan R. <jbarr@bakerlaw.com>
Subject: RE: United States v. Alex Nain Saab Moran ‐ 19‐cr‐20450 (SD Fla)

Kurt,

If are asking about an engagement letter, we can confirm that we have been retained by Mr. Saab Moran and have a
signed engagement letter. We are not at liberty to share the letter because it contains communications covered by the
attorney client privilege and attorney work product protections.

Best,

Kendall

From: Lunkenheimer, Kurt (USAFLS) <Kurt.Lunkenheimer@usdoj.gov>
Sent: Tuesday, January 19, 2021 7:58 PM
To: Wangsgard, Kendall E. <kwangsgard@bakerlaw.com>
Cc: Kramer, Alexander (CRM) <Alexander.Kramer@usdoj.gov>; Romano, John‐Alex (CRM) <John‐
Alex.Romano@usdoj.gov>; Rivkin, David <drivkin@bakerlaw.com>; New, Jonathan B. <jnew@bakerlaw.com>; Barr,
Jonathan R. <jbarr@bakerlaw.com>
Subject: Re: United States v. Alex Nain Saab Moran ‐ 19‐cr‐20450 (SD Fla)

Thank you.

By any chance do you have a representation letter you scan share with the us?

Kurt K. Lunkenheimer
Assistant United States Attorney
(786)360‐9771


          On Jan 19, 2021, at 5:23 PM, Wangsgard, Kendall E. <kwangsgard@bakerlaw.com> wrote:


          Thank you. We can use the below dial‐in and I will send a calendar invite as well:

          Domestic:       866.468.2930
          International: +1.224.267.0948

          Code:            202.861.1751



          From: Kramer, Alexander (CRM) <Alexander.Kramer@usdoj.gov>
          Sent: Tuesday, January 19, 2021 2:58 PM
                                                              2
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   To: Wangsgard, Kendall E. <kwangsgard@bakerlaw.com>; Lunkenheimer, Kurt (USAFLS)
   <Kurt.Lunkenheimer@usdoj.gov>; Romano, John‐Alex (CRM) <John‐Alex.Romano@usdoj.gov>
   Cc: Rivkin, David <drivkin@bakerlaw.com>; New, Jonathan B. <jnew@bakerlaw.com>; Barr, Jonathan R.
   <jbarr@bakerlaw.com>
   Subject: RE: United States v. Alex Nain Saab Moran ‐ 19‐cr‐20450 (SD Fla)


   [External Email: Use caution when clicking on links or opening attachments.]

   Thank you. A call at 9:30AM would work for us.

   Regards,
   Alex Kramer

   Alexander J. Kramer
   Office: 202‐307‐0955
   Mobile: 202‐768‐1919

   From: Wangsgard, Kendall E. <kwangsgard@bakerlaw.com>
   Sent: Tuesday, January 19, 2021 2:14 PM
   To: Lunkenheimer, Kurt (USAFLS) <KLunkenheimer@usa.doj.gov>; Kramer, Alexander (CRM)
   <Alexander.Kramer@CRM.USDOJ.GOV>; Romano, John‐Alex (CRM) <John‐
   Alex.Romano@CRM.USDOJ.GOV>
   Cc: Rivkin, David <drivkin@bakerlaw.com>; New, Jonathan B. <jnew@bakerlaw.com>; Barr, Jonathan R.
   <jbarr@bakerlaw.com>
   Subject: United States v. Alex Nain Saab Moran ‐ 19‐cr‐20450 (SD Fla)

   Good afternoon Kurt, Alexander, and John:

   We represent Alex Nain Saab Moran in an indicted case pending in the Southern District of Florida (19‐
   cr‐20450‐RNS). We would like to confer with you in advance of an anticipated filing which will be filed
   concurrent with our appearance. A telephone call is likely simplest—are there times Thursday morning
   that work for you? Thanks in advance.

   Best,

   Kendall

   Kendall Wangsgard
   Counsel
   <image001.jpg>
   Washington Square
   1050 Connecticut Ave, N.W. | Suite 1100
   Washington, DC 20036-5403
   T +1.202.861.1751

   kwangsgard@bakerlaw.com
   bakerlaw.com
   <image002.png>
   <image003.jpg>
   <image004.jpg>




                                                       3
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